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                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY                          MAY -7 2018
                                   NORTHERN DIVISION
                                                                                  AT COVINGTON
                                     AT COVINGTON                                ROBERT R. CARR
                                                                             CLERK U.S. DISTRICT COURi

CIVIL ACTION NO. 16-188-WOB-CJS

RICHARD CRAWFORD,
RACHAEL CRAWFORD                                                           PLAINTIFFS

v.
GALLATIN COUNTY, KENTUCKY                                                  DEFENDANT


                             AGREED ORDER OF DISMISSAL

       A settlement conference was held on March 20, 2018 before Magistrate Judge J. Gregory

Wehrman, with the following appearances: plaintiffs Richard Crawford and Rachael Crawford

along with Jacob Rusch and Molly Nephew, plaintiffs' attorneys; Ken McFarland, Gallatin

County Judge Executive, John Wright, Gallatin County Attorney on behalf of defendant Gallatin

County, Kentucky, along with Jeff Mando, attorney for defendant Gallatin County. The parties

have advised the Court that all matters in controversy have been amicably resolved, accordingly;

       IT IS ORDERED AND ADJUDGED that the complaint, amended complaint, and

second amended complaint be dismissed with prejudice, each party to pay their own costs.

       This j__{{day of         hrv{ciJ_~.     , 2018.
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                                             WILLIAM 0. BERTELSMAN, JUDGE




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Case: 2:16-cv-00188-WOB-CJS Doc #: 47 Filed: 05/07/18 Page: 2 of 2 - Page ID#: 349


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HAVE~D AGREED:

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RICHARD CRAWFORD, Plaintiff




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